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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  SHERONDA DANIELS, Individually and              §
  on Behalf of the Estate of L.V. Daniels, Jr.,   §
  Deceased;                                       §
  L.V. DANIELS, SR. Individually and on           §
  Behalf of the Estate of L.V. Daniels, Jr.,      §
  Deceased; and,                                  §
  LILLE RUE DANIELS, Individually and on          §     Civil Action No. 3:05-CV-02460-B
  Behalf of the Estate of L.V. Daniels, Jr.,      §      US CONSTITUTION and
  Deceased                                        §      AMENDMENTS
                                                  §      42 USC 1983
         Plaintiffs,                              §      Violation of Civil Rights et al
  v.                                              §
                                                  §
  THE CITY OF DALLAS and CITY OF                  §
  DALLAS OFFICER KENT OWEN                        §
  WOLVERTON, Individually and in his              §
  Official Capacity                               §

         Defendants.



                          PLAINTIFFS’ NOTICE OF APPEAL


         Notice is hereby given that Sheronda Daniels, Individually and on behalf of the

  Estate of L.V. Daniels, Jr. Deceased; L.V. Daniels, Sr. Individually and on Behalf of the

  Estate of L.V. Daniels, Jr., Deceased; and, Lille Rue Daniels, Individually and on Behalf

  of the Estate of L.V. Daniels, Jr., Deceased, Plaintiffs in the above named case, hereby

  appeal to the United States Court of Appeals for the Fifth Circuit from the amended final

  judgment entered in this action on the 8th day of August 2007.




  PLAINTIFFS’ NOTICE OF APPEAL                                                     PAGE 1
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                                                   ___s/Stan Broome________
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                                                   ATTORNEYS FOR PLAINTIFFS




                            CERTIFICATE OF SERVICE

         On the 20th day of August 2007 a true and correct copy of the above and
  foregoing pleading was forwarded to Defendant’s counsel electronically through the
  CM/ECF system in accordance with the Federal Rules of Civil Procedure and the Local
  Rules of the United States District Court for the Northern District of Texas – Dallas
  Division.



                                                   ____s/Stan Broome_____
                                                   Stanley D. Broome




  PLAINTIFFS’ NOTICE OF APPEAL                                                   PAGE 2
